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                       EXHIBIT 1
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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND
ALPHA PSI CHAPTER OF THETA CHI
FRATERNITY, ET AL.                               *

                         Plaintiffs,             *

                v.                               *       No. 8:24-cv-00753-DLB

                                                 *
JAMES BOND, ET AL.,
                         Defendants.             *

            *        *     *       *   *     *       *      *     *      *      *      *

                                  AFFIDAVIT OF JAMES BOND

       I, James Bond, being over 18 years of age and competent to testify to the matters set forth

herein, state as follows:

       1.        I am the Director of the Office of Student Conduct at the University of Maryland

(the “University”). I have served in this role for two and a half years. I have worked at the

University in various roles for a total of 19 years. As the Director of the Office of Student

Conduct (“OSC”), I am responsible for resolving allegations of individual and organizational

misconduct in a manner consistent with our Code of Student Conduct and Code of Academic

Integrity, thereby ensuring due process for the University of Maryland student community. I

supervise a staff of ten employees who practice the values of fairness, honesty, integrity, respect,

and compassion in our work.

       2.        The University recognizes eligible fraternities and sororities, also known as

chapters, as student organizations. The University’s chapters are governed by four councils: the

Interfraternity Council (“IFC”), the Multicultural Greek Council (“MGC”), the National Pan-

Hellenic Council (“NPHC”), and the Panhellenic Association (“PHA”). The vast majority of
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University students who are members of Greek organizations are members of chapters governed

by the IFC and the PHA. These chapters generally engage in recruitment activities for a period

of six to eight weeks beginning in or around February of each year.

       3.      University students and student organizations, including chapters, are subject to

the University’s Code of Student Conduct (the “Code of Conduct”). A true and correct copy of

the Code of Conduct is attached to Defendants’ Memorandum in Opposition to Plaintiffs’

Motion for Temporary Restraining Order and Preliminary Injunction as Exhibit 2.

       4.      A true and correct copy of the University’s Hazing Policy is attached to

Defendants’ Memorandum in Opposition to Plaintiffs’ Motion for Temporary Restraining Order

and Preliminary Injunction as Exhibit 3.

       5.      On or around February 22, 2024, OSC received two referrals alleging Code of

Conduct violations by Fraternity 1, a member of the IFC. Specifically, a resident director

reported that, during residence inspections on February 20, 2024, he found multiple prohibited

substances and drug paraphernalia in the fraternity house of Fraternity 1. OSC also received an

anonymous report from a parent that their son was being subjected to harmful hazing by

Fraternity 1. A true and correct copy of this anonymous referral is attached to Defendants’

Memorandum in Opposition to Plaintiffs’ Motion for Temporary Restraining Order and

Preliminary Injunction as Exhibit 4.

       6.      Following OSC’s receipt of these referrals, on February 27 and 28, 2024, OSC

interviewed members of Fraternity 1, who provided inconsistent and apparently false statements

to OSC investigators.

       7.      On the evening of February 27, 2024, OSC received an anonymous email referral

alleging that multiple unidentified fraternities were engaged in hazing activities with new




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members. A true and correct copy of this anonymous email referral is attached to Defendants’

Memorandum in Opposition to Plaintiffs’ Motion for Temporary Restraining Order and

Preliminary Injunction as Exhibit 5.

       8.      The University refers to an incident where a student is transported off campus by

an emergency responder to a healthcare facility due to excessive alcohol consumption as an

“alcohol transport.”

       9.      Several hours after meeting with the chapter presidents about appropriate conduct

on February 29, 2024, in the early morning hours of March 1, there were two separate incidents

of alcohol transports involving excessive alcohol consumption by new members of PHA chapters

who had reportedly attended chapter events on the evening of February 29, 2024. OSC received

referrals relating to these incidents on Friday March 1, 2024.

       10.     In the morning of March 1, 2024, OSC received an anonymous referral from the

mother of a new member of Fraternity 2 alleging hazing by the chapter. A true and correct copy

of this anonymous email referral is attached to Defendants’ Memorandum in Opposition to

Plaintiffs’ Motion for Temporary Restraining Order and Preliminary Injunction as Exhibit 7.

       11.     On March 1, 2024, OSC reviewed data from the University’s Health and

Counseling Centers and found there was a troubling uptick in visits to both Centers by IFC and

PHA chapter members during the month of February. A true and correct copy of this data is

attached to Defendants’ Memorandum in Opposition to Plaintiffs’ Motion for Temporary

Restraining Order and Preliminary Injunction as Exhibit 8.

       12.     Based on the totality of information received by the University as of March 1,

2024, and concerns about ongoing violations of the Code of Conduct relating to hazing and

alcohol and drug use, OSC determined that immediate action was warranted to prevent harm to




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the University’s students, particularly since it was anticipated that there would be many

recruiting activities and social events by the chapters in the coming weekend. Consequently,

OSC determined that it would place a temporary interim cease and desist order relating to two

specific activities by chapters:    (1) hosting social events where alcohol is served; and (2)

conducting new or prospective member activities. Because the February 27 referral alleged

widespread hazing across multiple unnamed chapters and because of the nature and extent of the

other evidence described above, the cease and desist order was imposed on all IFC and PHA

chapters so that the University could have an opportunity to thoroughly but expeditiously

investigate the allegations and identify specific chapters, if any, that were allegedly involved in

hazing. The intent of the no contact restriction was to protect vulnerable underclassmen who are

new or prospective members of chapters from being subjected to hazing as well as to maintain

integrity in the investigation of the serious allegations set forth in the February 27 referral.

       13.     Following the decision to implement interim measures on March 1, 2024, the

University promptly engaged InCompliance, an outside consulting firm, to interview students for

the purpose of gathering information about the activities of chapters during the preceding weeks.

A true and correct copy of the notice sent to the chapter members on March 8, 2024, regarding

the investigation is attached to Defendants’ Memorandum in Opposition to Plaintiffs’ Motion for

Temporary Restraining Order and Preliminary Injunction as Exhibit 9.

       14.     Beginning on March 11, 2024, investigators interviewed over 150 chapter

members regarding their experiences with Greek life on campus. As of the afternoon of March

15, 2024, InCompliance’s preliminary factfinding investigation has concluded, and the

University has lifted the interim measures set forth in the March 1 and 6, 2024, notices. A true

and correct copy of the campuswide notice lifting the interim measures on March 15, 2024, is




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attached to Defendants’ Memorandum in Opposition to Plaintiffs’ Motion for Temporary

Restraining Order and Preliminary Injunction as Exhibit 10.

       15.    A true and correct copy of the March 15, 2024, notice of investigation sent to

Plaintiff Kappa Alpha Order is attached to Defendant’s Memorandum in Opposition to Plaintiffs’

Motion for Temporary Restraining Order and Preliminary Injunction as Exhibit 11.


       I DECLARE UNDER THE PENALTY OF PERJURY THAT THE FOREGOING IS
       TRUE AND CORRECT.

       Executed on March 15, 2024.

                                            ____________________________
                                            James Bond




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